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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          DANVILLE DIVISION


                                                        Action No: 4:19CV3
 Susan O. Cardoza                                       Date: 4/10/2019
 vs.                                                    Judge: Elizabeth K. Dillon
                                                        Court Reporter: J. Webb
 Medical Device Business Services, Inc., et al
                                                        Deputy Clerk: B. Davis



 Plaintiff Attorney                              Defendant Attorneys
 Robert Mann                                     Milli Hansen
                                                 Stephen J. Harburg
                                                 William Devine
                                                 Brandy Balding – by phone


PROCEEDINGS:
Hearing held on Plaintiff’s [17] Motion to Remand to State Court and Defendants’ [4] Motion to
Stay. Arguments from counsel on Plaintiff’s [17] Motion to Remand to State Court.
Arguments from counsel on Defendants’ [4] Motion to Stay. The parties may, but are not
required to, submit supplemental authority regarding the court's consideration of extrinsic
documents, such as the consent form, in ruling on the motion to remand. Any such responses
are due not later than Wednesday, April 17, 2019. The Court takes all motions under advisement.



Time in Court: 1:57p – 3:00p (1 hour 3 min)
